  Case 22-19812-CMG          Doc 22    Filed 02/08/23 Entered 02/08/23 09:09:06             Desc Main
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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY
   Caption in Compliance with D.N.J. LBR 9004-1
                                                                      Order Filed on February 8, 2023
   KML Law Group, P.C.                                                by Clerk
   By: Denise Carlon, Esquire                                         U.S. Bankruptcy Court
                                                                      District of New Jersey
   701 Market Street, Suite 5000
   Philadelphia, PA 19106
   215-627-1322
   Attorneys for Secured Creditor: Rocket Mortgage,
   LLC f/k/a Quicken Loans, LLC f/k/a Quicken Loans
   Inc
   In Re:                                                   Case No.: 22-19812 CMG
   John C. Jamer and Kimberly Vaughan-Jamer                 Hearing Date: 2/1/2023 10:00am
   Debtors
                                                            Judge: Christine M. Gravelle


        ORDER RESOLVING SECURED CREDITOR’S OBJECTION TO DEBTOR’S
                            CHAPTER 13 PLAN

   The relief set forth on the following pages, numbered two (2) through two (2) is hereby
   ORDERED




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Debtors:              John C. Jamer and Kimberly Vaughan-Jamer
Case No.:             22-19812 CMG
Caption:              ORDER RESOLVING SECURED CREDITOR’S OBJECTION TO
                      DEBTOR’S CHAPTER 13 PLAN

       This matter having been brought before the Court by KML Law Group, P.C., attorneys
for Secured Creditor, Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a Quicken Loans
Inc, holder of a mortgage on real property located at 82 Ridge Road, Hackettstown, NJ, 07840,
Denise Carlon appearing, by way of objection to the confirmation of Debtor’s Chapter 13 Plan,
and this Court having considered the representations of attorneys for Secured Creditor and Joan
Sirkis Warren, Esquire, attorney for Debtors, and for good cause having been shown;
       It is ORDERED, ADJUDGED and DECREED that in the event a final loan
modification is unsuccessful by June 1, 2023, or as may be extended by modified plan Debtor is
responsible for the difference between the trial modification payment and the regular payment
for the months this loan was in the trial modification; and
       It ORDERED, ADJUDGED and DECREED that Debtors shall make regular post-
petition payments in accordance with the terms of the note and mortgage and applicable payment
change notices while the loan modification is pending;
       It ORDERED, ADJUDGED and DECREED that The trustee is not to pay the arrears
while the loan modification is pending;
       It ORDERED, ADJUDGED and DECREED that Secured Creditor does not waive its
rights to the pre-petition arrears or any post-petition arrears that may accrue;
       It is FURTHER ORDERED, ADJUDGED and DECREED that in the event a final
loan modification is unsuccessful, Debtor shall modify the plan to otherwise address
Secured Creditor’s claim; and
       It ORDERED, ADJUDGED and DECREED Secured Creditor does not waive its rights
to the pre-petition arrears or any post-petition arrears that may accrue;
       It FURTHER ORDERED, ADJUDGED and DECREED Secured Creditor reserves
the right to object to any modified plan;
       It is FURTHER ORDERED, ADJUDGED and DECREED that Secured Creditor’s
objection            to            confirmation               is            hereby      resolved.
